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                                EXHIBIT 3

                               COMPLAINT
   PHELPS V. ISOMEDIX OPERATIONS, INC., ET AL. , NO. 2023-L-009581
                            Case:Initial
      Law Division Motion Section     1:24-cv-03411    Document
                                          Case Management             #: 1-3 Filed:
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                                                           Dates for CALENDARS       04/29/24 Page will
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                                                                                                                   In Person.
      All other Law Division Initial Case Management Dates will be heard via Zoom
      For more information and Zoom Meeting IDs go to https.//www.cookcountycourt,org/HOME?Zoom-Links?Agg4906_SelectTab/12
      Court Date: 11/21/2023 9:45 AM                                                                                  FILED
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                                                                                                                    IRIS Y. MARTINEZ
                                                                                                                    CIRCUIT CLERK
                                                                                                                    COOK COUNTY, IL
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                                                                                    INTRODUCTION

                                            I.     Medline and the Mills/Abrams Family
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                                                   1.      Valued at $34 billion, Medline is one of the largest private corporations in the

                                            world. Until recently, Medline operated as a closely held family corporation, with a tight-knit

                                            group of family members including Charlie Mills (CEO), his brother Andy Mills (President), their

                                            sister Wendy Abrams, nee Mills (Principal and former Head of Corporate Communications), and

                                            Wendy’s husband Jim Abrams (COO) (altogether the “Mills/Abrams Family”) owning

                                            substantially all of the company and serving in substantially all top-level leadership roles.

                                                   2.      The Mills/Abrams Family have long operated Medline with an iron grip, making

                                            substantially all significant decisions related to the management not just of Medline generally, but

                                            also related to the management of the Waukegan Sterilization Facility and Libertyville Warehouse,

                                            specifically. On information and belief, with respect to the tortious conduct described throughout

                                            this complaint that is relevant to Medline, defendants Charlie Mills and Jim Abrams personally

                                            lead, participated in, and took part in such conduct.

                                                   3.      One aspect of the Mills/Abrams Family’s iron grip management style—one which

                                            they have long been lauded for—is their “devotion to tight cost management.” See Devon

                                            Pendleton, Chicago Family Poised for $29 Billion Windfall After Record Buyout, Bloomberg,

                                            (Dec. 3, 2021), https://tinyurl.com/4p6cpzfa.

                                                   4.      That approach to business has proven wildly lucrative for the Mills/Abrams Family:

                                            while the Sacklers are perhaps the most widely recognized billionaire family in the medical

                                            industry, with a combined net worth of approximately $11 billion, the Mills/Abrams Family’s

                                            recent sale of Medline netted the family approximately $30 billion, placing the family amongst the

                                            wealthiest in the world. See id.



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                                            II.     Medline, Isomedix, Cosmed, and Vantage

                                                    8.     Defendants are industrial users and polluters of ethylene oxide gas in Illinois.
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                                            Medline, Isomedix, and Cosmed are industrial medical device sterilizers and Vantage is a chemical

                                            producer.

                                                    9.     While ethylene oxide (“EtO”) has been classified as a human carcinogen since

                                            1994, and its carcinogenic and mutagenic properties have been well documented in studies since

                                            at least the mid-1980s, Medline, Isomedix, Cosmed, and Vantage disregarded ethylene oxide’s

                                            harmful properties and continued to release it into the surrounding suburban communities—until

                                            recently entirely unbeknownst to area residents and workers.

                                                    10.    Self-reported emission estimates from these facilities reflect high levels of ethylene

                                            oxide release. The combined ethylene oxide emissions from these facilities have reached as high

                                            as 13,000 pounds per year. While some EtO emissions are from controlled sources, the majority

                                            of these emission estimates are “fugitive emissions” that escape the facilities as they use EtO.

                                                    11.    Initial air monitoring tests commissioned by the Lake County Health Department,

                                            the Village of Gurnee, and the City of Waukegan demonstrated to the public the widespread nature

                                            of the ethylene oxide pollution taking place. The tests show the presence of toxic ethylene oxide

                                            gas as far as 4.8 miles from the Medline facility and 4 miles from the Vantage facility, much further

                                            than previously suspected.

                                                    12.    As a result, individuals living and working near these EtO-emitting facilities face

                                            some of the highest long-term cancer risks in the United States. These individuals have been

                                            inhaling ethylene oxide on a routine basis for decades. Now they are suffering from a variety of

                                            cancers, miscarriages, birth defects, and other life-altering health effects from their regular

                                            exposure to ethylene oxide.

                                                                             JURISDICTION AND VENUE
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                                                    13.     This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209 because

                                            they conduct business transactions in Illinois, maintain facilities in Illinois, and/or have committed
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                                            tortious acts in Illinois.

                                                    14.     Venue is proper in Cook County pursuant to 735 ILCS 5/2-101 because several

                                            Defendants, including Medline and Vantage, maintain offices in Cook County, are each

                                            headquartered in Cook County, and conduct business in Cook County.

                                                                                       THE PARTIES

                                                    15.     Plaintiff Hattie Phelps is a natural person and a resident of the State of Illinois.

                                                    16.     Defendant Vantage Specialty Chemicals, Inc. and its predecessors have operated

                                            and continue to operate a chemical production facility in Gurnee, Illinois since 1985 (“the Vantage

                                            Facility”). Vantage Specialty Chemicals, Inc. is a privately-held company headquartered at 4650

                                            South Racine Avenue in Chicago, Cook County Illinois. Defendant is authorized to transact

                                            business in this county and is doing business in this county.

                                                    17.     Defendant Medline operates a sterilization facility in Waukegan, Illinois (the

                                            “Waukegan Facility”). Medline is a privately-held company headquartered at 3 Lakes Drive,

                                            Northfield, Cook County, Illinois. Defendant is authorized to transact business in this county and

                                            is doing business in this county.

                                                    18.     Defendants Charlie Mills and Jim Abrams are natural persons and citizens of the

                                            State of Illinois.

                                                    19.     Defendant Isomedix Operations, Inc.’s predecessors operated the Waukegan

                                            Facility between January 2005 to September 2008. Isomedix is a privately held corporation

                                            headquartered at 5960 Heisley Road, Mentor, Ohio 44060. On January 1, 2015, Steris Isomedix

                                            Services Inc. merged with and into Isomedix Operations, Inc., a wholly owned subsidiary of Steris



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                                            Corporation, with Isomedix Operations, Inc. surviving the merger. Isomedix Operations, Inc. is

                                            the successor to Steris Isomedix Services Inc., which no longer exists as a legal entity.
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                                                   20.     Defendant Cosmed Group, Inc. operated the Waukegan Facility prior to 2005.

                                            Cosmed is a privately-held corporation headquartered at 28 Narragansett Avenue, Jamestown,

                                            Rhode Island, 02835.

                                                                       COMMON FACTUAL ALLEGATIONS

                                            I.     Brief Overview of the Ethylene Oxide Industry

                                                   21.     Ethylene oxide is a flammable gas at room temperature that is produced in large

                                            volumes for industrial uses. There are two primary known industrial uses for ethylene oxide at

                                            Defendants’ facilities: medical equipment sterilization and chemical production.

                                                   22.     Commercial medical equipment sterilizers use the ethylene oxide sterilization

                                            process on over 20 billion health care products every year in the United States. The EtO

                                            sterilization process begins by placing medical equipment in a gas chamber. After air is pumped

                                            out of the room, ethylene oxide is introduced and allowed to diffuse into the products for several

                                            hours. Once the medical equipment is sterilized, the ethylene oxide is pumped out of the chamber

                                            and the remaining EtO is allowed to slowly dissipate from the equipment.

                                                   23.     Concerning chemical production, EtO undergoes a chemical reaction to create new

                                            chemical compounds. Ethylene glycol is one of the most common chemicals synthesized from

                                            ethylene oxide and is often used in a wide range of products such as polyester fibers (for use in

                                            clothing, carpets, and upholstery), industrial coolants, antifreeze, and personal care products such

                                            as cosmetics, shampoos, body washes, and other skincare products.

                                                   24.     Defendants use and/or have used ethylene oxide in their industrial processes.

                                            Between approximately 1993 and 2005, Cosmed operated the Waukegan Facility, which used EtO

                                            for industrial medical device sterilization, until Isomedix took over the facility in 2005. Isomedix
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                                                   51.     The U.S. EPA estimates the lifetime risk of developing cancer due to air toxics in

                                            one of these four Lake County tracts near the Waukegan Facility and Vantage facility to be up to
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                                            five times higher than average the national cancer risk across the U.S. population. Fewer than one

                                            percent of the census tracts in the United States have an estimated cancer risk due to air toxics of

                                            greater than or equal to 100 in one million.

                                                   b.      The U.S. EPA’s Cancer Risk Assessments are Understated

                                                   52.     While the 2014 NATA reveals shockingly high risks of cancer across a large area

                                            near the Medline and Vantage facilities, these risks are understated.

                                                   53.     The U.S. EPA warns that the NATA is only a screening tool that local

                                            municipalities can use in order to further investigate the emission sources and potential public

                                            health risks. It notes several NATA shortcomings such as the lack of direct measurements of

                                            pollutants and data gaps.

                                                   54.     The lifetime risk of developing cancer in the aforementioned census tracts is likely

                                            significantly higher than what the U.S. EPA estimated in the 2014 NATA. That is because

                                            Vantage’s 2014 EtO emissions were actually omitted from the 2014 NATA. According to the U.S.

                                            EPA, this was due to a clerical “error” in the National Emissions Inventory which caused

                                            Vantage’s 2014 EtO emissions to be calculated as zero for purposes of the 2014 NATA.1 That is,

                                            the finding that cancer risk levels were up to five times the national average were based on the

                                            assumption that Vantage did not emit a single pound of EtO in 2014. Adding in the thousands of

                                            pounds that Vantage actually emitted would only result in ever higher cancer risk levels for the

                                            areas surrounding the plant. In short, without the Vantage emissions in its calculations, the cancer




                                            1
                                                   https://www.epa.gov/il/ethylene-oxide-emissions-lake-county-illinois#vantage
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                                                   76.     Even still, the full health impact on those who live and work near the Medline and

                                            Vantage facilities is still not entirely known. The Lake County Health Department has requested
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                                            that the Illinois Department of Public Health conduct a cancer incidence assessment in Lake

                                            County.

                                                                      FACTS SPECIFIC TO HATTIE PHELPS

                                                   77.     Plaintiff Hattie Phelps has been a resident of the Lake County area since around

                                            1975. From around 1975 to 1976, she lived approximately 5.0 miles of the future location of the

                                            Vantage Facility and 2.2 miles of the future location of the Waukegan Facility. From around 1976

                                            to 1981, she lived approximately 4.3 miles of the future location of the Vantage Facility and 1.8

                                            miles of the future location of the Waukegan Facility. From around 1981 to 1991, she lived

                                            approximately 4.7 miles from the Vantage facility and 1.9 miles from the Waukegan Facility. From

                                            around 1991 to present, she has lived approximately 4.3 miles from the Vantage Facility and 1.4

                                            miles from the Waukegan Facility. From around 1988 to 2007, she lived approximately 4.6 miles

                                            from the Vantage Facility and 1.5 miles from the Waukegan Facility.

                                                   78.     Plaintiff consistently inhaled contaminated air in and around her home and in the

                                            Lake County area.

                                                   79.     Because of her inhalation of EtO from Defendants’ facilities, Plaintiff was

                                            diagnosed with breast cancer.

                                                   80.     Plaintiff, having exercised reasonable diligence, first learned that Plaintiff’s injury

                                            was wrongfully caused on a date less than two years prior to the filing of this complaint.

                                                                                      COUNT I
                                                                                     Negligence
                                                                   (On Behalf of Plaintiff and Against Defendants)

                                                   81.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.



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                                                   82.     At all times relevant, Defendants owed a duty to exercise reasonable care in the

                                            operation of their facilities, including in their emission of EtO, to prevent harm to neighboring
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                                            Plaintiff. It was reasonably foreseeable that nearby property owners would be exposed to elevated

                                            levels of Defendants’ EtO emissions, and would face the health risks associated with EtO

                                            exposure.

                                                   83.     Notwithstanding their duty, Defendants breached their duty in one or more of the

                                            following ways:

                                                           a.     Emitting dangerous volumes of EtO into the air;

                                                           b.     Disregarding safe methods to adequately control EtO emissions;

                                                           c.     Failing to warn or advise those who live or work in the community, that
                                                                  they were being exposed to EtO;

                                                           d.     Failing to adequately record test results of high levels of EtO;

                                                           e.     Ignoring test results of high levels of EtO;

                                                           f.     Underreporting EtO levels; and

                                                           g.     Subjecting those who live and work near their facilities to an elevated
                                                                  cancer risk.


                                                   84.     As a proximate result of one of the aforesaid negligent acts or omissions Plaintiff

                                            Hattie Phelps suffered injuries of a personal and pecuniary nature.

                                                   WHEREFORE Plaintiff Hattie Phelps demands judgment against Defendants in an amount

                                            in excess of the minimum amount required for jurisdiction in the Law Division of the Circuit Court

                                            of Cook County, Illinois.

                                                                                     COUNT II
                                                                           Willful and Wanton Conduct
                                                                   (On Behalf of Plaintiff and Against Defendants)

                                                   85.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.


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                                                     86.    At all times relevant, Defendants owed a duty to refrain from willful and wanton

                                            conduct and/or conduct which exhibited an utter indifference and/or conscious disregard to the
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                                            health, safety, and well-being of the Plaintiff and those living and working in the area surrounding

                                            its facility.

                                                     87.    Notwithstanding their duties, Defendants breached their duties in one or more of

                                            the following ways:

                                                            a.     Emitting dangerous volumes of EtO into the air;

                                                            b.     Disregarding safe methods to adequately control EtO emissions;

                                                            c.     Failing to warn or advise those who live or work in the community, that
                                                                   they were being exposed to EtO;

                                                            d.     Failing to adequately record test results of high levels of EtO;

                                                            e.     Ignoring test results of high levels of EtO;

                                                            f.     Underreporting EtO levels; and

                                                            g.     Subjecting those who live and work nearby their facilities to an elevated
                                                                   cancer risk.

                                                     88.    As a proximate result of one of the aforesaid willful and wanton acts or omissions,

                                            Plaintiff Hattie Phelps suffered injuries of a personal and pecuniary nature.

                                                     WHEREFORE Plaintiff Hattie Phelps demands judgment against Defendants in an amount

                                            in excess of the minimum amount required for jurisdiction in the Law Division of the Circuit Court

                                            of Cook County, Illinois.

                                                                                      COUNT III
                                                                                   Public Nuisance
                                                                    (On Behalf of Plaintiff and Against Defendants)

                                                     89.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.




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                                                   96.     As a proximate result, EtO invaded and caused to be contaminated the areas

                                            immediately surrounding and on Plaintiff’s residence.
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                                                   97.     As a proximate result, Plaintiff was exposed to and inhaled significant quantities of

                                            EtO.

                                                   98.     As a proximate result, Plaintiff sustained and will continue to sustain severe and

                                            permanent damage to her health due to the emission of EtO.

                                                   99.     As a proximate result, Plaintiff Hattie Phelps suffered injuries of a personal and

                                            pecuniary nature.

                                                   WHEREFORE Plaintiff Hattie Phelps demands judgment against Defendants in an amount

                                            in excess of the minimum amount required for jurisdiction in the Law Division of the Circuit Court

                                            of Cook County, Illinois.

                                                                                      COUNT IV
                                                                       Ultrahazardous Activity/Strict Liability
                                                                    (On Behalf of Plaintiff and Against Defendants)

                                                   100.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                   101.    Defendants’ use and emission of EtO from its Waukegan Facility constitutes an

                                            ultra-hazardous activity.

                                                   102.    Defendants’ use and emission of EtO created a high degree of risk to those who

                                            live and work and the surrounding area. As EtO is carcinogenic, exposure to it at any level is

                                            inherently dangerous, and Defendants emitted tons of it into the air around their properties.

                                                   103.    Defendants’ use and emission of EtO is especially inappropriate given the densely

                                            populated residential and commercial area in which their facilities are located. Medical device

                                            sterilization is not an activity regularly undertaken by individuals in the population.

                                                   104.    The activities conducted by Defendants are exceedingly dangerous as described

                                            herein and offer little to no value to the surrounding community.
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                                                   105.    Because the activities of Defendants are ultrahazardous, Defendants are strictly

                                            liable for any injuries proximately resulting therefrom.
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                                                   106.    As a direct and proximate result of Defendants’ ultrahazardous activities, Plaintiff

                                            was exposed to and inhaled significant quantities of EtO.

                                                   107.    As a proximate result of Plaintiff’s inhalation of EtO from the Defendants’

                                            facilities, Plaintiff Hattie Phelps suffered injuries of a personal and pecuniary nature.

                                                   WHEREFORE Plaintiff Hattie Phelps demands judgment against Defendants in an amount

                                            in excess of the minimum amount required for jurisdiction in the Law Division of the Circuit Court

                                            of Cook County, Illinois.




                                                                                                   Respectfully submitted,

                                                                                                   HATTIE PHELPS,

                                            Date: September 19, 2023                               By: /s/ Brandt Silver-Korn
                                                                                                   One of Plaintiff’s Attorneys

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